     Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 1 of 22 Page ID #:817




1     JOHN B. BULGOZDY (Cal. Bar No. 219897)
      Email: bulgozdyj@sec.gov
2     DAVID S. BROWN (Cal. Bar No. 134569)
      Email: browndav@sec.gov
3
      Attorneys for Plaintiff
4     Securities and Exchange Commission
      Michele Wein Layne, Regional Director
5     Alka N. Patel, Associate Regional Director
      Amy Jane Longo, Regional Trial Counsel
6     444 S. Flower Street, Suite 900
      Los Angeles, California 90071
7     Telephone: (323) 965-3998
      Facsimile: (213) 443-1904
8
                            UNITED STATES DISTRICT COURT
9
                          CENTRAL DISTRICT OF CALIFORNIA
10
11
12      SECURITIES AND EXCHANGE                    Case No. 5:20-cv-01056-PA-SHK
13      COMMISSION,
                                                   PLAINTIFF SECURITIES AND
14                  Plaintiff,                     EXCHANGE COMMISSION’S
                                                   NOTICE OF FILING RECEIVER’S
15            vs.                                  FIRST REPORT AND
16                                                 RECOMMENDATIONS
        PAUL HORTON SMITH, SR.;
17      NORTHSTAR COMMUNICATIONS,
        LLC; PLANNING SERVICES, INC.;
18      AND EGATE, LLC,
19                  Defendants.
20
21
22
23
24
25
26
27
28
     Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 2 of 22 Page ID #:818




1     TO THE CLERK OF THE COURT AND ALL PARTIES:
2           PLEASE TAKE NOTICE that Plaintiff Securities and Exchange Commission
3     hereby submits the Receiver First Report and Recommendations in this action, a copy
4     of which is attached as Exhibit 1.
5
6
7     Dated: June 2, 2020                        Respectfully submitted,

8                                                /s/ John B. Bulgozdy
9                                                John B. Bulgozdy
                                                 David S. Brown
10                                               Attorneys for Plaintiff
11                                               Securities and Exchange Commission
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                 1
     Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 3 of 22 Page ID #:819




1                                    PROOF OF SERVICE
2     I am over the age of 18 years and not a party to this action. My business address is:
3           U.S. SECURITIES AND EXCHANGE COMMISSION,
            444 S. Flower Street, Suite 900, Los Angeles, California 90071
4           Telephone No. (323) 965-3998; Facsimile No. (213) 443-1904.
5     On June 2, 2020, I caused to be served the document entitled PLAINTIFF
      SECURITIES AND EXCHANGE COMMISSION’S NOTICE OF FILING
6     RECEIVER’S FIRST REPORT AND RECOMMENDATIONS on all the parties
      to this action addressed as stated on the attached service list:
7
      ☒      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
8     collection and mailing today following ordinary business practices. I am readily
      familiar with this agency’s practice for collection and processing of correspondence
9     for mailing; such correspondence would be deposited with the U.S. Postal Service on
      the same day in the ordinary course of business.
10
            ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s),
11    which I personally deposited with the U.S. Postal Service. Each such envelope was
      deposited with the U.S. Postal Service at Los Angeles, California, with first class
12    postage thereon fully prepaid.
13          ☐     EXPRESS U.S. MAIL: Each such envelope was deposited in a facility
      regularly maintained at the U.S. Postal Service for receipt of Express Mail at Los
14    Angeles, California, with Express Mail postage paid.
15    ☐      HAND DELIVERY: I caused to be hand delivered each such envelope to the
      office of the addressee as stated on the attached service list.
16
      ☐     UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated
17    by United Parcel Service (“UPS”) with delivery fees paid or provided for, which I
      deposited in a facility regularly maintained by UPS or delivered to a UPS courier, at
18    Los Angeles, California.
19    ☒      ELECTRONIC MAIL: By transmitting the document by electronic mail to
      the electronic mail address as stated on the attached service list.
20
      ☐    E-FILING: By causing the document to be electronically filed via the Court’s
21    CM/ECF system, which effects electronic service on counsel who are registered with
      the CM/ECF system.
22
      ☐     FAX: By transmitting the document by facsimile transmission. The
23    transmission was reported as complete and without error.
24          I declare under penalty of perjury that the foregoing is true and correct.
25     Date: June 2, 2020                        /s/ John B. Bulgozdy
26                                               John B. Bulgozdy
27
28

                                                    2
     Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 4 of 22 Page ID #:820




1                           SEC v. Paul Horton Smith, Sr., et al.
                United States District Court—Central District of California
2                            Case No. 5:20-cv-01056-PA-SHK
3                                    SERVICE LIST
4
5                 Paul Horton Smith Sr.
                  13234 Twinflower Court
6                 Moreno Valley, CA 92553
                  Email: Plan4u2@gmail.com
7                 Pro Se
8
                  Northstar Communications, LLC
9                 c/o Paul Horton Smith, Sr.
                  3637 Arlington Avenue, Suite A100
10                Riverside, CA 92506
11
                  Planning Services, Inc.
12                c/o Paul Horton Smith, Sr.
                  3637 Arlington Avenue, Suite A100
13                Riverside, CA 92506
14
                  eGate, LLC
15                c/o Paul Horton Smith, Sr.
                  3637 Arlington Avenue, Suite A100
16                Riverside, CA 92506
17
                  Krista Freitag
18                E3 Advisors
                  355 S. Grand Avenue, Suite 2450
19                Los Angeles, CA 90071
                  Email: kfreitag@ethreeadvisorys.com
20                Temporary Receiver for Defendants Northstar Communications, LLC,
                  Planning Services, Inc., and eGate, LLC
21
22
23
24
25
26
27
28

                                               3
Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 5 of 22 Page ID #:821




                   EXHIBIT 1
Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 6 of 22 Page ID #:822



   1 KRISTA FREITAG
     E3 Realty Advisors, Inc.
   2 Court-Appointed Temporary Receiver
     355 S. Grand Avenue, Suite 2450
   3 Los Angeles, CA 90071
     Phone: (213) 943-1374
   4 E-Mail: kfreitag@ethreeadvisors.com
   5
   6
   7
   8                         UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
  10
  11 SECURITIES AND EXCHANGE                       Case No. ED CV 20-1056 PA (SHKx)
     COMMISSION,
  12
              Plaintiff,
  13                                               RECEIVER’S FIRST REPORT AND
          v.                                       RECOMMENDATIONS
  14
     PAUL HORTON SMITH, SR;
  15 NORTHSTAR COMMUNICATIONS,                     Date:     June 3, 2020
     LLC; PLANNING SERVICES, INC.;                 Time:     1:30 p.m.
  16 AND EGATE, LLC,                               Judge:    Hon. Percy Anderson
  17               Defendants.
  18
  19         By order of this Court, on March 20, 2020, Krista Freitag ("Receiver") was
  20 appointed temporary receiver for Defendants Northstar Communications, LLC,
  21 Planning Services, Inc., and eGate, LLC, and their subsidiaries and affiliates
  22 (collectively, the "Receivership Entities"), with full powers of an equity receiver,
  23 including, but not limited to, full power over all funds, assets, collateral, premises
  24 (whether owned, leased, occupied, or otherwise controlled), choses in action, books,
  25 records, papers and other property belonging to, being managed by or in the
  26 possession of or control of the Receivership Entities, and was immediately
  27 authorized, empowered and directed to take certain actions as set forth in the
  28 Temporary Restraining Order and Order to Show Cause Why A Preliminary


                                                 -1-
                                                                       Exhibit 1 Page 4
Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 7 of 22 Page ID #:823



   1 Injunction Should Note Be Granted (the "TRO"). Dkt. 14. The following reflects
   2 the Receiver's preliminary observations, report of work performed thus far pursuant
   3 to the TRO, and initial recommendations.
   4           Pursuant to the TRO and law governing federal equity receivers, the Receiver
   5 has been charged with, among other things, (1) assuming control over the
   6 Receivership Entities and their assets ("Receivership Assets"), and (2) investigating,
   7 locating, and recovering Receivership Assets. On May 21, 2020, the Receiver took
   8 possession of the Receivership Entities’ office premises located at 3637 Arlington
   9 Ave., Suite A, Riverside, California, and personally served Defendant Paul Horton
  10 Smith, Sr. ("Smith") with a copy of the TRO and a request for documents relating to
  11 the Receivership Entities, a copy of which is attached hereto as Exhibit A, as
  12 amended and subsequently emailed to Smith. Prior to the Receiver’s entry onto the
  13 premises, the United States Federal Bureau of Investigation (“FBI”) executed an
  14 arrest warrant on Smith and concurrently executed a search warrant on the office
  15 premises pursuant to the United States Attorney’s criminal case No. 5:20-mj-00269-
  16 DUTY captioned USA v. Paul Horton Smith, Sr. Pursuant to the search warrant, the
  17 FBI took possession of various records and all computer equipment located at the
  18 office premises.
  19            The Receiver has obtained confirmation of the Court’s freeze of certain
  20 Receivership Entity bank accounts which contain a total of approximately
  21 $210,000,1 and has successfully obtained control over certain personal property,
  22 documents and records. The Receiver has been in contact with the FBI and hopes to
  23 soon gain access to the electronic data and records of the Receivership Entities that
  24 were seized, but at this time her document recovery and analysis efforts are
  25 incomplete and preliminary for the reasons set forth herein.
  26
  27
       1
  28       $200,000 appears to represent funds from one investor paid to Northstar
            Communications and deposited on May 20, 2020.

                                                  -2-
                                                                       Exhibit 1 Page 5
Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 8 of 22 Page ID #:824



   1        Due to the short amount of time between the TRO and the date of this Report,
   2 and the limited information available to the Receiver to date, this Report is
   3 preliminary. While Receivership Assets appear to be very limited at this time, there
   4 is some indication of prospective avenues of recovery for the benefit of investors,
   5 which the Receiver believes warrant limited additional, narrowly-focused
   6 investigation. In Section IV, the Receiver has set out her recommendations for
   7 proceeding if the receivership is to continue.
   8
   9                             I. EXECUTIVE SUMMARY
  10        The Receivership Entities' business involved investment advisory, insurance
  11 agency, tax preparation coordination and related services for what appears to be
  12 hundreds of clients. Based on the Receiver’s review of records to date and Smith’s
  13 representation, a comprehensive database of active investment advisory, insurance
  14 agency and tax clients and/or investor information does not exist. Thus, the Receiver
  15 has not yet been able to identify the entire scope or details associated with the
  16 Receivership Entities’ clients and/or investors. The Receiver has been able to take
  17 control of a Customer Relationship Management (CRM) software database, but it
  18 does not make clear who is an active client or investor of the Receivership Entities
  19 (there are over 2,700 contacts in this CRM database), and does not reflect their, (a)
  20 amounts invested, expended or received, (b) insurance policy details, or (c)
  21 investment account details. Per Smith, there are approximately 110 investment
  22 advisory clients and 800-900 insurance agency clients; however, the Receiver has
  23 not yet been able to confirm these numbers. Also, Smith has reportedly not provided
  24 his Court ordered accounting, which would be a helpful tool in understanding the
  25 assets of the enterprise.
  26        As discussed in Section IV below, the Receiver believes the receivership
  27 should continue with a very limited, narrow scope primarily to further investigate
  28


                                                -3-
                                                                      Exhibit 1 Page 6
Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 9 of 22 Page ID #:825



   1 the prospective recovery of assets of the Receivership Entities for the benefit of the
   2 investors of the alleged scheme.
   3
   4                II. RECEIVER’S ACTIONS TO IMPLEMENT TRO
   5 A. Office Premises.
   6        On May 21, 2020, the Receiver temporarily assumed control over the
   7 operations controlled by Smith and the premises leased by the Receivership Entities;
   8 which premises were secured and locks changed. The Receiver had a change of
   9 address completed for the premises as well as a PO Box address found on a
  10 Northstar Communications related document.
  11 B. Funds Identified To Date.
  12        As noted above, the Receiver has received confirmation of the Court’s asset
  13 freeze and the existence of approximately $210,000 in Receivership Entities’ bank
  14 accounts. Attached hereto as Exhibit B is a chart reflecting all of the accounts
  15 identified by the SEC and the Receiver, the status of each account, and the balance
  16 found in each account.
  17 C. Control Over Computer Hardware, Software and Documents.
  18        Promptly upon her appointment, in addition to taking control of the subject
  19 premises, the Receiver worked in concert with the FBI to take control over computer
  20 hardware, software and documents in order to preserve all e-mails, documents, and
  21 accounting information maintained on the devices. As previously mentioned, the
  22 Receiver expects to obtain copies of the forensic images of the computers and other
  23 electronic devices, as well as the actual physical devices, from the FBI in the next
  24 week or two. The Receiver was able to promptly take control over the Receivership
  25 Entities CRM, website domain and e-mail host sites, including a Google account.
  26        As part of her effort to preserve the electronic and hard copy documents
  27 associated with the Receivership Entities, the Receiver also served the known
  28 attorneys, accountants, certain vendors, insurance companies, financial advisory


                                                -4-
                                                                      Exhibit 1 Page 7
Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 10 of 22 Page ID #:826



    1 firms, agencies and other third parties with copies of the TRO. Certain of these
    2 communications made a demand for client and contract details associated with the
    3 Receivership Entities (e.g., Formula Folios, an investment advisory management
    4 firm) and others made a demand that each of these parties preserve all electronic and
    5 other documents in their possession, custody or control as provided for in the TRO
    6 (e.g., CRM provider).
    7 D. Interviews with Employees, Assessing Business Operations.
    8        While taking control over the above-described premises, the Receiver met
    9 with and interviewed one employee and Smith. One other person believed to assist
   10 Smith - purportedly Smith’s daughter - was not at the office that day. The Receiver
   11 reached out to ask her to come to the office via voicemail, but did not hear back.
   12 The one employee the Receiver was able to interview, the executive assistant
   13 employed for approximately nine months, made it clear that the operations were
   14 primarily controlled by Smith, with the assistance of his daughter.
   15        The interview with Smith was intended to explain and encourage him to
   16 thoroughly review the TRO as well as to review the requested items on Exhibit A –
   17 primarily focused on reviewing the Receivership Entities’ past and present
   18 operations, as well as identifying and addressing the prospective assets of the
   19 Receivership Entities. This interview was limited in time to approximately
   20 45 minutes, but some helpful information was obtained – e.g., the CRM software
   21 explanation, online banking security information, and a possible E&O insurance
   22 policy (confirmed to exist as of the date of this report). Some of Smith’s answers,
   23 however, were quickly found to be untrue. When specifically asked about (1) the
   24 accounting software system and access thereto, (2) other addresses for the
   25 Receivership Entities, and (3) other storage locations, Smith unequivocally
   26 answered there were none. He also would not discuss Northstar Communications
   27 and provided a name and a phone number of his purported counsel, from whom the
   28 Receiver has not heard.


                                                -5-
                                                                      Exhibit 1 Page 8
Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 11 of 22 Page ID #:827



    1        The Receiver subsequently located numerous accounting related reports she
    2 recognized as Quickbooks reports, as well as a login information therefor. She also
    3 located invoices for two storage locations (in the name of Planning Services, Inc.)
    4 and a PO Box associated with Northstar Communications.
    5        Smith also confirmed the existence of an investment advisory management
    6 company, Formula Folios. He stated that he handled very few trades or cashiering
    7 requests from clients, and while some online access (primarily through Formula
    8 Folios) exists for certain of the investment advisory clients, there was not a database
    9 for the insurance (or tax) clients. Given this information, in the face of limited
   10 funds and the observation of numerous invoices reflecting past due expenses, the
   11 Receiver took prompt steps to temporarily suspend operations and provide guidance
   12 on voicemail for clients to contact their insurance carriers or investment account
   13 custodians directly.
   14 E. Affiliated Entity.
   15        Smith is sole member of an affiliated entity, IE Tax, LLC. Several bank
   16 accounts associated with this entity were identified and the applicable bank(s)
   17 served with a copy of the TRO demanding the accounts be immediately frozen.
   18 F. Personal Property.
   19        The Receiver has secured some personal property – primarily artwork –
   20 which appears to potentially be worth several thousand dollars. She has enlisted the
   21 assistance of an art appraiser to help value same. Through her investigation and
   22 document review, she also located two potential storage facilities (one a 21’ foot
   23 container) under the name of Planning Services, Inc. She attempted to locate the
   24 container, pursuant to the address (a vacant lot) on an invoice for same, but the
   25 address was a single-family home. Upon pressing Smith for the location of this
   26 container, he explained that he is allowing “a friend who lost his home to store his
   27 belongings” in the container. After repeated requests, he has now provided an
   28


                                                 -6-
                                                                       Exhibit 1 Page 9
Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 12 of 22 Page ID #:828



    1 explanation and contact information for the noted friend, and the Receiver is
    2 following up on this information..
    3        The second storage facility has been confirmed to be overlocked and the
    4 Receiver has now been granted access to review its contents – such review is to set
    5 to occur in the coming days.
    6 G. Investor Communications.
    7        The Receiver has established a dedicated web page which has been used to
    8 make case information easily accessible to clients and/or investors. The Internet
    9 address for the webpage is as follows: www.northstarreceivership.com. In addition,
   10 the Receiver is maintaining a dedicated e-mail address and telephone line for
   11 investor inquiries. While answers to various questions already posed by clients or
   12 investors are not yet available in this case, the Receiver has attempted to respond to
   13 client and investor correspondence to acknowledge receipt of their correspondence
   14 and to encourage them to register on the website above in order to receive updates.
   15        With limited information in the CRM database about the Receivership
   16 Estate’s investment advisors, insurance agency, and tax clients and/or investors, the
   17 Receiver has worked diligently to identify and obtain active client and investor
   18 contact information and investment/insurance policy/services details. A list of (112)
   19 clients managed by Formula Folios has been obtained; the Receiver is working on
   20 obtaining contact information therefor. Additionally, based upon email addresses
   21 included in the CRM software and in order to disseminate a notice in a cost-
   22 effective manner, the Receiver sent an email to approximately 900 email addresses
   23 (as previously noted, there are over 2,700 contacts in the CRM database).
   24
   25
   26
   27
   28


                                                 -7-
                                                                     Exhibit 1 Page 10
Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 13 of 22 Page ID #:829



    1                                III.   PENDING LITIGATION
    2            In February 2020, the California Department of Business Oversight filed suit
    3       against eGate, LLC and Paul Horton Smith, Sr. The Receiver is in touch with
    4       counsel representing the defendants in the case2 and has noticed the Department of
    5       Business Oversight’s attorneys as well. The Receiver is advised of two other
    6       pending client/investor actions, and is attempting to obtain files from the attorney
    7       Smith provided as the contact for the defendant(s) in those matters; this attorney
    8       has not yet responded to the Receiver’s preservation and demand for records letter.
    9
   10                       IV.   PRELIMINARY RECOMMENDATIONS
   11            The Receiver's efforts to marshal relevant Receivership Entity documents and
   12 records and investigate assets for recovery for the benefit of victims in the alleged
   13 scheme are ongoing. Through the end of May 2020, the Receiver and her staff have
   14 expended approximately 86 hours at an average hourly rate of $256 and $393 in
   15 direct costs (e.g., locksmiths) discharging her duties as discussed herein; the
   16 Receiver intends to continue to work as efficiently as possible to execute the duties
   17 as recommended below.
   18            In light of what appears to be very limited Receivership Assets at this time,
   19 the Receiver recommends and proposes (a) she be appointed as permanent receiver
   20 with a narrow, limited scope of work as presented in Sections IV (A-E) below, (b)
   21 she be authorized to engage receivership counsel to assist her in this scope, with a
   22 budget not to exceed $15,000, and (c) she file a further report to reflect her limited
   23 scope findings within 75 days.
   24 A.         Document Gathering and Asset Investigation Efforts.
   25            With the goal of identifying any additional cash recoveries, through financial
   26 institutions, unused retainers, and prospective insurance policy claims (e.g., E&O
   27
        2
   28       This attorney has reached out to the Receiver to confirm he has effectively frozen
             his unused retainer, but that it is less than $5,000.

                                                     -8-
                                                                          Exhibit 1 Page 11
Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 14 of 22 Page ID #:830



    1 policy), the Receiver will continue to obtain records from all financial institutions
    2 where the Receivership Entities maintained accounts as well as from attorneys and
    3 accountants engaged by the Receivership Entities, and insurance companies. This
    4 may include, where appropriate and with the assistance of counsel, issuing
    5 subpoenas to financial institutions and other third parties.
    6         The Receiver will obtain valuation estimates on the personal property and
    7 continue to research prospective real property assets (e.g., the Receiver has
    8 identified a real property on which Smith appears to have a mortgage; however, he
    9 is not on title therefor). If assets are identified that are located in other judicial
   10 districts, the Receiver will, with the assistance of counsel, file the TRO (or
   11 Preliminary Injunction Order if issued by the Court) in those jurisdictions pursuant
   12 to 28 U.S.C.§ 754.
   13 B.      Accounting.
   14         With the goal of attempting to efficiently identify any investors who received
   15 substantial profits from the alleged scheme (which amounts would likely be subject
   16 to disgorgement), the Receiver will review and analyze accounting and bank
   17 records, as they are obtained or become available.
   18         Because it is uncertain whether or not there are, (a) assets sufficient to
   19 ultimately make a distribution to investors, or (b) whether the preparation of an
   20 accounting is either affordable or warranted at this time, the Receiver intends to
   21 make recommendations concerning an accounting and the costs and benefits thereof
   22 in the follow-on report proposed above.
   23 C.      Investigation of Potential Third-Party Claims.
   24         With the goal of potentially pursuing professional liability claims, the
   25 Receiver also recommends reviewing the coverage details of the E&O policy and
   26 investigating whether there are third parties who aided Smith in connection with the
   27 alleged scheme. In addition, the Receiver will investigate the possibility of
   28 insurance coverage, such as insurance covering the actions of directors and officers,


                                                   -9-
                                                                         Exhibit 1 Page 12
Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 15 of 22 Page ID #:831




                                                              Exhibit 1 Page 13
Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 16 of 22 Page ID #:832




                   EXHIBIT A
                                                              Exhibit 1 Page 14
Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 17 of 22 Page ID #:833




                                                              Exhibit 1 Page 15
Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 18 of 22 Page ID #:834




                                                              Exhibit 1 Page 16
Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 19 of 22 Page ID #:835




                                                              Exhibit 1 Page 17
Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 20 of 22 Page ID #:836




                                                              Exhibit 1 Page 18
Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 21 of 22 Page ID #:837




                   EXHIBIT B
                                                              Exhibit 1 Page 19
               Case 5:20-cv-01056-PA-SHK Document 23 Filed 06/02/20 Page 22 of 22 Page ID #:838


                           BANK                                    ENTITY                            ACCOUNT NUMBER            Balance
On Order        BBVA USA              Northstar Communications LLC                                            xxx7020   $        200,078.19
On Order        BBVA USA              Planning Services, Inc.                                                 xxx3562       account closed
On Order        BBVA USA              Planning Services, Inc.                                                 xxx7012   $           2,305.87
On Order        Charles Schwab        Northstar Communications LLC                                            xxx7268   $             410.64
On Order        TD Ameritrade         Paul H. Smith                                                           xxx0415   $             331.12
On Order        TD Ameritrade         Northstar Communications LLC                                            xxx1749   $             409.84
                                      Paul H Smith Sr Trustee Fbo Northstar Communications LLC Pft
On Order        TD Ameritrade                                                                                 xxx6179 $            5,932.19
                                      Sharing
On Order        TD Ameritrade         eGate, LLC                                                              xxx9625     account closed
On Order        TD Ameritrade         eGate, LLC                                                              xxx1874     account closed
On Order        Interactive Brokers   eGate, LLC                                                              xxx8528   $             87.99
On Order        Provident Bank        eGate, LLC                                                              xxx4362   $             13.10
On Order        Provident Bank        Northstar Communications LLC                                            xxx7380     account closed
On Order        Provident Bank        Planning Services, Inc.                                                 xxx7330     account closed
On Order        C3bank                Planning Services, Inc.                                                 xxx3847   $             40.79
On Order        Wells Fargo Bank      Paul Smith                                                              xxx5594   $            723.81
Not On Order    BBVA USA              IE Tax LLC                                                              xxx6314    awaiting response
Not On Order    Provident Bank        IE Tax LLC                                                              xxx8620     account closed
                                      TOTAL                                                                             $       210,333.54




                                                                                                        Exhibit 1 Page 20
